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                                                                                                               8/5/2019 12:45 PM
                                                                                                               DOROTHY BROWN
                                                                                                               CIRCUIT CLERK
                                                                                                               COOK COUNTY, IL
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                                               Defendant has purposely availed themself of the privilege of conducting business activities

                                               and transactions within the County of Cook, State of Illinois, in particular by placing their
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                                               products and/or services into the stream of commerce with the expectation that they would,

                                               and will, be purchased and used by consumers in Illinois where Plaintiff resided.

                                            5. In consideration of the above, jurisdiction is proper as to Defendant pursuant to one or

                                               more of the following laws: 735 ILCS 5/2-209(a)(l), (a)(2), (a)(7), and (a)(12); 735 ILCS

                                               5/2-209(b)(l), (b)(2), (b)(3) and (b)(4); and 735 ILCS 5/2-209(c).

                                            6. In further consideration of the above, venue is proper in this Court pursuant to 735 ILCS

                                               5/2-101 and 735 ILCS 5/2-102.

                                                                           NATURE OF THE CASE

                                            7. This is a premises liability and negligence claim for civil damages under the laws of the

                                                State of Illinois. This action arises from the Plaintiff slipping and falling on a puddle of

                                                vomit on the floor at a property leased, managed, maintained, controlled, and/or operated

                                                by WALMART INC. The slip and fall resulted in rotator cuff tendinitis in Plaintiffs right

                                                shoulder.

                                                                          FACTUAL ALLEGATIONS

                                            8. On or about March 18, 2018, at or about approximately 7 p.m.. Plaintiff walked into the

                                                store located at 75-1015 Henry St, Kailua, Hawaii 96740.

                                            9. On or about March 18,2018, Plaintiff was walking from the main store to a hallway leading

                                                to the restroom.

                                            10. There was a puddle of vomit covering the floor of the hallway, causing Plaintiff to slip on

                                                the puddle and fall onto the ground.




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                                            11. On and prior to March 18, 2019, Defendant WALMART INC. leased, managed,

                                               maintained, controlled, and/or operated the premises located at 75-1015 Henry St, Kailua,
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                                               Hawaii 96740.

                                            12. At the time and place aforesaid, the Plaintiff was lawfully at the hallway located inside the

                                               building at 75-1015 Henry St, Kailua, Hawaii 96740 as a business invitee.

                                            13. On and prior to March 18, 2018, and at all times hereinafter mentioned, Defendant

                                               WALMART INC. retained the right to leased, managed, maintained, controlled, and/or

                                               operated the aforesaid premises, including the hallway, which served as the exclusive path

                                               for all persons lawfully therein to approach the restroom.

                                            14. On and prior to March 18, 2018, and at all times hereinafter mentioned, Defendant

                                                WALMART INC., leased, managed, maintained, controlled, and/or operated or had a duty

                                               to leased, managed, maintained, controlled, and/or operated, both directly or indirectly

                                                through its agents, servants, contractors and/or employees, the subject hallway, including

                                                the manner in which the floor of the hallway was kept.

                                            15. On and prior to March 18, 2018 at the aforesaid time and place, Defendant WALMART

                                                INC. had a duty to exercise ordinary care in the possession, ownership, management,

                                                operation, maintenance and control of the aforesaid premises for the safety of the Plaintiff,

                                                JOHN YAWGER, and those persons lawfully thereon.

                                            16. On and prior to March, 18, 2018, and at all times hereinafter mentioned, Defendant

                                                WALMART INC., through its agents, servants, contractors and/or employees, caused and

                                                permitted the common areas of the aforementioned property, including the manner in

                                                which the floor of the hallway was kept to become and remain in a dangerous condition for

                                                persons using the premises, including the Plaintiff, although Defendant WALMART INC.




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                                               knew or in the exercise of ordinary care, should have known of the dangerous condition of

                                               the subject property.
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                                            17. Upon information and belief, on and prior to March 18, 2018, WALMART INC. had left

                                               the puddle of vomit to remain on the floor in the hallway leading to the restroom.

                                            18. That at the aforesaid place and time, and on the aforesaid date, there was inadequate

                                               warning of the puddle of vomit in the hallway of the subject premises, particularly on the

                                               floor.

                                            19. At the time and place aforesaid. Defendant WALMART INC., by and through its

                                               employees, servants, contractors, and/or agents, had actual or constructive knowledge of

                                               the aforesaid dangerous condition of the floor of the subject property for a significant

                                               period of time prior to the incident on March 18, 2018.

                                            20. At the time and place aforesaid, the Plaintiff was attempting to walk to the washroom.

                                               through no fault, negligence, or carelessness of his own, he slipped and fell after stepping

                                               onto a puddle of vomit.

                                            21. That at the aforesaid place and time, and on the aforesaid date, due to inadequate warning

                                               and cleaning, and that Plaintiff was relatively new to the premises, Plaintiff could not have

                                               anticipated that he would encounter a dangerous or hazardous condition in the hallway.

                                            22. That at the aforesaid date and time and at the aforesaid place, it then and there became and

                                               was the duty of Defendant WALMART INC., prior to and at the time of the occurrence, to

                                                exercise reasonable care and caution in and about the ownership, management.

                                               maintenance, operation, control and possession of the aforesaid property so that the same

                                                would be in good, safe and proper condition for persons legally and lawfully upon said




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                                               premises to use and walk upon so as not to cause harm and injury to such persons and, in

                                               particular, the Plaintiff.
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                                                                         COUNT I - Premise Liability
                                                                       JOHN YAWGER v. WALMARTINC.

                                            23. Plaintiff incorporates by reference all preceding paragraphs.

                                            24. At the time and place aforesaid it was the duty of the Defendant, WALMART INC., as

                                               owner, occupier and/or manager of the store at 75-1015 Henry St, Kailua, Hawaii 96740,

                                               by and through its agents, employees and/or servants to exercise ordinary care so that the

                                               premises were in a reasonably safe condition so as not to cause injury to individuals.

                                                including Plaintiff, JOPIN YAWGER, lawfully on said premises.

                                            25. Notwithstanding said duty, on the aforesaid date and at said place, Defendant, WALMART

                                                INC., by and through its respective agents, servants, contractors and/or employees in the

                                                course and scope of their agency, servitude and/or employment, prior to and at the time of

                                                this occurrence, was in violation of the Premises Liability Act, 740 ILCS 130/1, in one or

                                                more of the following ways:

                                                        a. Failed to maintain the premises, including the floor in the hallway that served

                                                            as an exclusive means to approach the restroom, in a reasonable, safe, and

                                                            proper condition;

                                                        b. Allowed a dangerous condition to exist in the hallway leading to the washroom

                                                            by failing to remove the vomit on the floor even though they knew, or in the

                                                            exercise of ordinary care, should have known that the same created a hazard to

                                                            invitees and other persons, including the Plaintiff;




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                                                   c. Improperly operated, managed, maintained and controlled the manner in which

                                                          the floor in the hallway was kept, so that as a direct and proximate result,
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                                                          Plaintiff was injured;

                                                   d. Created an unreasonably dangerous condition in the manner in which it kept the

                                                          floor in the hallway, when it knew or should have known that said arrangement

                                                          was dangerous to the Plaintiff and all other persons lawfully in the premises;

                                                    e. Created a dangerous condition by failing to remove the unreasonably dangerous

                                                          condition in the manner in which it kept the floor in the hallway, when it knew

                                                          that the hallway was an exclusive path for all persons lawfully in the premises,

                                                          including the Plaintiff, to approach the washroom;

                                                    f.    Created a dangerous condition by failing to make a reasonable inspection of the

                                                          aforesaid property when defendant knew or reasonably should have known that

                                                          inspecting the property was necessary to prevent injury to the Plaintiff and

                                                          members of the general public and invitees;

                                                    g. Created a dangerous condition by failing to clean the floor, when it knew or

                                                           should have known that floor was needed for safe movement in and around the

                                                           hallway leading to the washroom; and

                                                    h. Failed to warn Plaintiff of the unreasonably dangerous condition of the floor,

                                                           when defendant knew or in the exercise of ordinary care, should have known

                                                           that warnings were necessary to prevent injury to the Plaintiff and other

                                                           members of the general public and invitees.

                                                     i.    Failed to provide a safe means of ingress/egress to and from the washroom in

                                                           their store, even though they knew or, in the exercise of ordinary care, should




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                                                               have known that invitees or other persons, including the Plaintiff, would be

                                                               using said pathway to access the washroom, and knew that there was vomit in
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                                                               said pathway which created a hazard for Plaintiff; and

                                                          j.   Was otherwise careless and/or negligent.

                                               26. As a direct and proximate result of the aforesaid careless and negligent conduct on the part

                                                   of the Defendant, WALMART INC., the Plaintiff, JOHN YAWGER, was caused to slip

                                                  and fall upon an unreasonably dangerous condition created by the manner in which

                                                  Defendant WALMART INC. kept it’s floor in the hallway leading to the washroom,

                                                   thereby sustaining severe and permanent injuries.

                                               27. That as a direct and proximate result of one or more of the aforesaid careless and negligent

                                                   acts and/or omissions of the Defendant, WALMART INC., the Plaintiff did sustain severe

                                                   and permanent injuries, both externally and internally, and was, and will be, hindered and

                                                   prevented from attending to his usual duties and affairs and has lost, and will in the future

                                                   lose, the value of that time. Plaintiff also suffered great pain and anguish; both in mind and

                                                   body, and will in the future continue to suffer. Plaintiff further expended and became liable

                                                   for, and will expend and become liable for, large sums of money for medical care and

                                                   services endeavoring to become healed and cured of said injuries.

                                                   WHEREFORE, Plaintiff JOHN YAWGER, demands judgment against the Defendant

                                            WALMART INC., for compensatory damages in an amount in excess of FIFTY THOURSAND

                                            DOLLARS ($50,000.00), the minimum jurisdictional amount of this Couit, and for such other

                                            relief as this Court deems appropriate.

                                                                                COUNT II - NEGLIGENCE
                                                                              JOHN YAWGER v. WALMART INC.

                                                23. Plaintiff incorporates by reference all preceding paragraphs.


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                                            24. At the times state herein it was the duty of the Defendant, WALMART INC., as owner,

                                               occupier and/or manager of the store at 75-1015 Henry St, Kailua, Hawaii 96740, by and
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                                               through its agents, employees and/or servants to exercise ordinary care so that the premises

                                               were in a reasonably safe condition so as not to cause injury to individuals, including

                                               Plaintiff, JOHN YAWGER, lawfully on said premises.

                                            25. Notwithstanding said duty, on the aforesaid date and at said place, Defendant,

                                               WALMART INC., by and through its respective agents, servants, contractors and/or

                                               employees in the course and scope of their agency, servitude and/or employment, prior to

                                               and at the time of this occurrence, committed one ore more of the following acts and/or

                                                omissions:

                                                   a. Failed to maintain the premises, including the floor in the hallway that served as an

                                                       exclusive means to approach the restroom, in a reasonable, safe, and proper

                                                       condition;

                                                   b. Failed to provide a reasonably safe pathway in the hallway leading to the washroom

                                                       by failing to remove the vomit on the floor even though they knew, or in the

                                                       exercise of ordinary care, should have known that the same created a hazard to

                                                       invitees and other persons, including the Plaintiff;

                                                   c. Improperly operated, managed, maintained and controlled the manner in which the

                                                       floor in the hallway was kept, so that as a direct and proximate result, Plaintiff was

                                                       injured;

                                                   d. Failed to remove the unreasonably dangerous condition in the manner in which it

                                                       kept the floor in the hallway, when it knew that the hallway was an exclusive path




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                                                      for all persons lawfully in the premises, including the Plaintiff, to approach the

                                                      washroom;
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                                                  e. Failed to make a reasonable inspection of the aforesaid property when defendant

                                                      knew or reasonably should have known that inspecting the property was necessary

                                                      to prevent injury to the Plaintiff and members of the general public and invitees;

                                                   f. Failed to clean the floor, when it knew or should have known that floor was needed

                                                       for safe movement in and around the hallway leading to the washroom; and

                                                   g. Failed to warn Plaintiff of the unreasonably dangerous condition of the floor, when

                                                       defendant knew or in the exercise of ordinary care, should have known that

                                                       warnings were necessary to prevent injury to the Plaintiff and other members of the

                                                       general public and invitees.

                                                   h. Failed to provide a safe means of ingress/egress to and from the washroom in their

                                                       store, even though they knew or, in the exercise of ordinary care, should have

                                                       known that invitees or other persons, including the Plaintiff, would be using said

                                                       pathway to access the washroom, and knew that there was vomit in said pathway

                                                       which created a hazard for Plaintiff; and

                                            26. As a direct and proximate result of the aforesaid careless and negligent conduct on the part

                                               of the Defendant, WALMART INC., the Plaintiff, JOHN YAWGER, was caused to slip

                                               and fall upon an unreasonably dangerous condition created by the manner in which

                                               Defendant WALMART INC. kept it’s floor in the hallway leading to the washroom.

                                               thereby sustaining severe and permanent injuries.

                                            27. That as a direct and proximate result of one or more of the aforesaid careless and negligent

                                                acts and/or omissions of the Defendant, WALMART INC., the Plaintiff did sustain severe




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                                                   and permanent injuries, both externally and internally, and was, and will be, hindered and

                                                   prevented from attending to his usual duties and affairs and has lost, and will in the future
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                                                   lose, the value of that time. Plaintiff also suffered great pain and anguish; both in mind and

                                                   body, and will in the future continue to suffer. Plaintiff further expended and became liable

                                                   for, and will expend and become liable for, large sums of money for medical care and

                                                   services endeavoring to become healed and cured of said injuries.

                                                   WHEREFORE, Plaintiff JOHN YAWGER, demands judgment against the Defendant

                                            WALMART INC., for compensatory damages in an amount in excess of FIFTY THOURSAND

                                            DOLLARS ($50,000.00), the minimum jurisdictional amount of this Court, and for such other

                                            relief as this Court deems appropriate.



                                                                                                         JOHN YAWGER
                                                                                                                      A


                                                                                                         By:          mk
                                                                                                                 One of his attorneys


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